 Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 1 of 8 PageID#
                                                                     FILED3289
                                                                                        IN DPFN COURT




                                                                                    Wt 2 8 2019
                                                                              fek   aERKU.S.DISTRIClUUUKl
                                                                                      ALFXANnRIA.VIRGINIA

                     IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


 UNITED STATES OF AMERICA                               No. 1:14-CR-230(AJT)

                V.                                      Count One:


 FARHIA HASSAN,                                               Conspiracy to Provide Material
      a/k/a Ummu Ibrahiim,                                    Support to a Foreign Terrorist
         a/k/a Bintu Hassan                                   Organization(18 U.S.C. § 2339B)

 FARDOWSA JAMA MOHAMED,
     a/k/a Umu Camaar,

 and


 BARIRA HASSAN ABDULLAHI,
      a/k/a Barida,

                Defendants


                           SECOND SUPERSEDING INDICTMENT


                              February 2019 Term - At Alexandria

                                    General Allegations


At all times relevant to this Second Superseding Indictment:

        1.     Defendant Farhia HASSAN,a/k/a Ummu Ibrahiim, a/k/a Bintu Hassan, was a

resident ofthe Netherlands who conspired with the individuals discussed below to provide

material support and resources to a Designated Foreign Terrorist Organization. During the

course ofthe conspiracy, HASSAN made regular monthly payments to support al-Shabaab's

terrorist and military operations in Somalia and elsewhere.
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 2 of 8 PageID# 3290
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 3 of 8 PageID# 3291
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 4 of 8 PageID# 3292
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 5 of 8 PageID# 3293
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 6 of 8 PageID# 3294
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 7 of 8 PageID# 3295
Case 1:14-cr-00230-AJT Document 340 Filed 02/28/19 Page 8 of 8 PageID# 3296
